                             UNITED STATES DISTRICT COURT

                       FOR THE WESTERN DISTRICT OF VIRGINIA

                              CHARLOTTESVILLE DIVISION


  BONUMOSE BIOCHEM LLC, a Virginia               CASE NO. 3:17-CV-00033-NKM-JCH
  limited liability company, and BONUMOSE
  LLC, a Virginia limited liability company,
                                                 DEFENDANT/COUNTERCLAIMANT
         Plaintiffs,                             CELL-FREE BIOINNOVATIONS, INC.
                                                 AND DEFENDANT PROF. YI-HENG
  vs.
                                                 PERCIVAL ZHANG’S REPLY IN
  YI-HENG PERCIVAL ZHANG, individually,          SUPPORT OF MOTION TO STRIKE
  and CELL-FREE BIOINNOVATIONS, INC.,            COUNTERCLAIM DEFENSES
  a Virginia corporation,

         Defendants.


  CELL-FREE BIOINNOVATIONS, INC., a
  Virginia corporation, and DR. YI-HENG
  PERCIVAL ZHANG, an individual,

         Counterclaimants,

  vs.

  BONUMOSE BIOCHEM LLC, a Virginia
  limited liability company, BONUMOSE LLC,
  a Virginia limited liability company, EDWIN
  O. ROGERS, an individual, and TEREBINTH
  STRATEGIC MANAGEMENT, LLC,

         Counterclaim-Defendants.




  Defendants’
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             Defendant/Counterclaimant Cell-Free Bioinnovations, Inc. (“CFB”) and Defendant Dr.

  Yi-Heng Percival Zhang (“Prof. Zhang” and, together with CFB, “Defendants”) hereby submit

  this Reply in Support of their Motion (Dkt. No. 222) to strike Plaintiffs’ Bonumose Biochem

  LLC and Bonumose LLC’s (collectively, “Bonumose” or “Plaintiffs”) Defenses to

  Counterclaims (Dkt. No. 217).

  I.       CONCLUSORY DEFENSES ARE NOT ADEQUATELY PLEAD UNDER ANY
           STANDARD
             Plaintiffs do not dispute that they did not plead any facts in support of the ten

  “affirmative defenses” asserted against Defendants’ sole counterclaim. Plaintiffs argue instead

  that they need not plead such facts because their defenses are “contextually comprehensible.”

  But that is not the standard for pleading defenses, and even if it were, Plaintiffs’ conclusory,

  incomprehensible defenses would not meet it.

             As demonstrated below, the pleading standards of Iqbal/Twombly should apply to

  Plaintiffs’ affirmative defenses. But even if this Court applies pre-Iqbal/Twombly standards,

  Plaintiffs’ defenses must be dismissed because:                     (1) the Court has already resolved in

  Defendants’ favor, in rulings that are now law of the case, Plaintiff’s purported defenses based

  on failure to state a claim and waiver; (2) the defense of fraud was not pleaded with specificity as

  required by Fed. R. Civ. P. 9(b); (3) most of the remaining defenses are not defenses at all; and

  (4) Plaintiffs’ defenses are futile, fail to provide notice, and interposed only to burden

  Defendants with unnecessary discovery. None of the defenses would have any material effect on

  the outcome of the case, but would add unnecessarily to the burdens of discovery and motion

  practice.

  II.      IQBAL/TWOMBLY’S PLEADING STANDARDS APPLY TO AFFIRMATIVE
           DEFENSES
             Plaintiffs first argue that this Court should disregard Palmer v. Oakland Farms, Inc., No.

  5:10-cv-29, 2010 WL 2605179 (W.D. Va. June 24, 2010), which established the rule in this

  District that the heightened pleading standards that apply to claims and counterclaims under

  Iqbal/Twombly 1 also should apply to affirmative defenses.

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      Bell Atlantic Corp., v. Twombly, 550 U.S. 544 (2007); Ashcroft v. Iqbal, 556 U.S. 662 (2009).

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           It is true that courts have split on the question as to whether Iqbal/Twombly pleading

  standards apply to affirmative defenses. The Palmer court addressed extensively that split of

  authority.   The court determined in the end that applying the Iqbal/Twombly standard to

  affirmative defenses not only is legally correct, but also is fair and advances the purpose of Rule

  12(f).

           While its holding technically is not binding on this court, Palmer’s reasoning remains

  good today. Nearly three dozen cases within this Circuit alone have cited Palmer with approval.

  See, e.g., Topline Solution, Inc. v. Sandler Systems, Inc., No. ELH-09-3102, 2017 WL 1862445,

  *39 (D. Md. May 8, 2017); Francisco v. Verizon South, Inc., No. 3:09-cv-737, 2010 WL

  2990159 *7 (E.D. Va. July 29, 2010). This makes sense: applying the same pleading standard to

  claims and defenses discourages “hide the ball” strategies that breed unnecessary satellite

  disputes and unnecessarily burdensome discovery. Applying Palmer would, moreover, prevent a

  split of authority in this District and the pleading confusion that inevitably would ensue.

           Plaintiffs do not cite a single decision from this district declining to follow Palmer as

  applied to affirmative defenses.     Plaintiffs cite this Court’s decision in Hooper v. BWXT

  Government Group, Inc., No. 6:16-cv-37, 2016 WL 6538000 *2 (W.D. Va. Nov. 3, 2016), but

  that case involved a motion to strike allegations in a complaint, not affirmative defenses in an

  answer, as this Court recognized. Plaintiffs also cite a 2011 decision from the Eastern District

  of Virginia, Lopez v. Asmar’s Meditarranean Food, Inc., No. 1:10-cv-1218 JCC, 2011 WL

  98573 at *2 (E.D. Va. Jan. 10, 2011), but do not cite a single decision from this district court

  following it.    Indeed, Lopez recognized that application of the Iqbal/Twombly standard to

  affirmative defenses is the approach of the majority of courts. Id. at *1; see also Aguilar v. City

  Lights of China Rest., Inc., No. DKC 11-2416, 2011 WL 5118325, at *3 (D. Md. Oct. 24, 2011)

  (placing Lopez in “the small minority of courts within this circuit” and rejecting its reasoning in

  favor of that applied in Palmer and others).

           Even were its reasoning persuasive—and it is not—Lopez also is factually

  distinguishable. In that case the affirmative defenses had been pleaded early in the case, before

  substantial discovery had taken place, and in which there was adequate time for discovery to

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  narrow the issues. Not so here, where discovery is set to conclude in March, and even if

  discovery is extended to allow for further depositions discovery will remain in the late stages. At

  the time Plaintiffs asserted their defenses, they already had the benefit of discovery, including

  substantial document production. Plaintiffs had no good reason for failing to provide a more

  specific pleading.

         The parallels between this case and Palmer are—no pun intended—striking. As in

  Palmer, this case involves single-sentence pleadings that do little inform the opposing party as to

  what is in issue. If the Court applies Palmer, as it should, Defendants’ motion to strike must be

  granted.

  III. PLAINTIFFS’ DEFENSES ARE INADEQUATE EVEN UNDER PRE-
       IQBAL/TWOMBLY PLEADING STANDARDS
         Plaintiffs concede that even if Iqbal/Twombly pleading standards do not apply to

  affirmative defenses, such defenses must put Defendants on “fair notice of the nature of the

  defense.” According to Plaintiffs, it is enough if defenses are “contextually comprehensible.”

         Fed. R. Civ. P. 12(f) provides that a court “may strike from a pleading an insufficient

  defense or any redundant, immaterial, impertinent or scandalous matter.” Prior to

  Iqbal/Twombly, “a defense that might confuse the issues in the case and would not, under the

  facts alleged, constitute a valid defense to the action can and should be deleted.” Waste

  Management Holdings, Inc. v. Gilmore, 252 F.3d 316, 347 (4th Cir. 2001) (quoting Charles Alan

  Wright & Arthur Miller, Federal Practice and Procedure § 1381 (1990 ed.) at 665).

         Even courts that do not apply the Iqbal/Twombly standard require defenses to be pleaded

  to provide sufficient notice to the claimant. See Sedgwick Homes, LLC v. Stillwater Homes, No.

  5:16-cv-49, 2016 WL 4499313, *2 (W.D. N.C. Aug. 25, 2016). “To survive a motion to strike, a

  defense must be more than a mere ‘bare-bones conclusory allegation which simply names a legal

  theory but does not indicate how the theory is connected to the case at hand.’” Id. (quoting

  Espinoza v. Mex-Am Café, LLC, No. 1:14-cv-30, 2015 WL 5431949, *6 (M.D.N.C. Sep. 15,

  2015) (Espinoza’s internal quotations omitted)).

         In addition, any defense based on fraud can be sustained only if plead with specificity

  under Fed. R. Civ. P. 9(b). Bakery & Confectionary Union & Industry International Pension
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  Fund v. Just Born II, Incorporated, 888 F.3d 696, 704-05 (4th Cir. 2018) (affirming district

  court’s striking of fraud defense).

         Under any reasonable pleading standard, Plaintiffs’ affirmative defenses fail to meet it.

         Plaintiffs’ first defense, “failure to state a claim,” is not an affirmative defense at all,

  because it does not require proof of additional facts beyond those of the claim. Villa v. Ally

  Financial, Inc., No. 1:13-cv-953, 2014 WL 800450, *2 (M.D. N.C. Feb. 28, 2014). And, as

  Defendants pointed out in their opening brief, that defense already has been brought by motion

  and rejected by this Court. The Court’s rejection of that defense is now law of the case.

         Plaintiff’s second defense is “fraud relating to the AASA.” Fraud is a defense that,

  pursuant to Fed. R. Civ. P. 9(b), must be plead with “particularity.” Just Born II, supra.

  Plaintiffs’ one-sentence pleading does not even attempt to address that standard. Plaintiff merely

  claims that Defendant CFB must “know” the basis of the defense based on scattershot paragraphs

  in its Second Amended Complaint. Plaintiffs do not even specify the elements of this defense.

         Plaintiffs’ third defense is that Defendants’ breach of contract counterclaim is barred by

  laches, estoppel, or waiver. “[E]ven before Twombly and Iqbal, the defenses of waiver, estoppel

  and laches were consistently struck when pled without reference to some facts.” Topline

  Solution, Inc. v. Sandler Systems, Inc., No. L-09-3102, 2010 WL 2998836, at *2 (D.Md. July 27,

  2010); accord Palmer, No. 5:10-cv-29, 2010 WL 2605179, at *6. Without any supporting facts,

  these “defenses” do not provide fair notice and thus are invalid under the law.

         Once again, Plaintiffs argue that Defendants somehow “know” the basis of the third

  defense based on scattershot allegations of the Second Amended Complaint. Plaintiffs make no

  attempt to address or explain any of the elements of these defenses, however, much less link

  them to facts alleged in the Second Amended Complaint. Plaintiffs do not, for example, explain

  how Defendants’ counterclaims were delayed for purposes of a “laches” defense. (Nor could

  they, as Defendants brought them before this Court resolved their motion to dismiss Plaintiffs’

  first amended complaint, that is, arguably before it was procedurally ripe to do so.) Nor do

  Plaintiffs’ identify any act on the part of Defendant CFB that would have reasonably lead

  Plaintiffs to believe Defendant would not assert its rights, as required by “estoppel.” And

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  Plaintiffs do not point to any act, much less a “knowing and intelligent” act, that could amount to

  a waiver of the breach of contract counterclaim. Indeed, the Court already addressed this

  defense when it denied Plaintiffs’ motion to arbitrate, which contended that Defendants had

  waived their right to bring suit in federal court. This defense too has been rejected, and that is

  law of the case.

         The remainder of Plaintiffs’ “affirmative defenses” do not appear to be affirmative

  defenses at all, much less valid defenses. See, e.g. Villa, 2014 WL 800450 *2. None of them is

  identified as an “affirmative defense” in Fed. R. Civ. P. 8(c), which lists the general affirmative

  defenses. If there is any support for any of these defenses under Virginia law, Plaintiffs have not

  provided it. And even if these were somehow deemed to be “affirmative defenses,” Plaintiffs

  again have not provided any factual support that begins to put Defendants on notice of the basis

  of the defense. Instead, Plaintiffs offer vague, conclusory statements that “Defendant CFB

  knows the basis” of the defense.

         Assertion of any of these defenses would prejudice Defendants. In the case of the

  defenses that this Court already has resolved, Defendants would be forced to undergo the

  needless time and expense of relitigating them. The other defenses would require further

  unnecessary expense to develop in discovery and, given the late stage of discovery, pose a

  serious risk of undue delay, and will only result in needless motion practice (e.g. summary

  judgment). The defenses also would distract from the main issues at trial. If the defenses had

  any merit, surely Plaintiffs would have set forth their facts and theories supporting them.

  IV.   PLAINTIFFS COULD HAVE AVOIDED THIS DISPUTE
         Defendants agree with Plaintiffs that this motion raises an issue that need not have

  consumed the Court’s time. Defendants afforded Plaintiffs every opportunity to resolve the issue

  without recourse to the Court.

         Prior to filing this motion, Defendants directed Plaintiffs to Palmer. Both in writing and

  during telephonic meet and confer, Defendants asked Plaintiffs to provide any authority

  supporting the notion that their vague, single-sentence defenses were adequately plead. Plaintiffs

  declined to address Palmer or provide any case law supporting their pleading. They instead

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  insisted without authority or elaboration that their defenses were “sufficient.” Indeed, Plaintiffs

  did not attempt to provide any authority until after Defendants were forced to file this motion.

  But, as explained above, the authority Plaintiffs ultimately provided was inapposite and contrary

  to dozens of opinions in the Fourth Circuit. And Plaintiffs’ defenses are insufficient even under

  Plaintiffs’ authority.

          When it became apparent Plaintiffs would have to submit an opposition to the motion

  without adequate authority, much less any legal justification for its defenses under the pre-

  Iqbal/Twombly standard, Plaintiffs proposed a stipulation by which it agreed to drop five of the

  ten defenses and provide contention interrogatory responses for the remainder. Despite the fact

  that the stipulation would have been highly favorable to Plaintiffs, Defendants agreed to the

  stipulation provided Plaintiffs would agree to provide “complete” interrogatory responses. When

  Plaintiffs refused to commit to provide “complete” responses, the parties reached an impasse.

  Plaintiffs’ proposal only would have resulted in further motion practice.

          Plaintiffs also blame Defendants for delaying discovery. But it is Plaintiffs who are

  responsible for delay. Defendants have provided substantially all requested discovery save for

  the deposition of Defendant Prof. Zhang, whose criminal trial remains pending. This Court has

  repeatedly ruled that, in order to protect Prof. Zhang’s Fifth Amendment rights, his deposition

  should not proceed until a verdict is reached in the criminal case. Meanwhile, with the Court’s

  approval, Plaintiffs have refused to allow Defendants any opportunity to depose Plaintiffs’ key

  witnesses, despite the fact that none of them are on trial, and their time to testify at the criminal

  trial has passed. If Plaintiffs truly wanted discovery to proceed, they would have permitted

  Defendants to take depositions of Plaintiffs in the meantime, leaving Prof. Zhang’s deposition as

  the only discovery needed after the criminal verdict. Instead, Plaintiffs have created deposition

  stalemate, and now seek to blame Defendants for their own delay.

  V.    CONCLUSION
          Because Plaintiffs’ Affirmative Defenses are not adequately pleaded, because those

  defenses add nothing to this case, and because Plaintiffs have no good cause for failing to



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  provide adequate pleading despite several months’ notice, Plaintiff’s affirmative defenses should

  be STRICKEN.



  Dated: February 5, 2019                  Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 5th day of February, 2019, a true and correct copy of the

  above and foregoing was electronically filed with the Clerk of the Court using the CM/ECF

  system, which will send notification of such filing to all counsel of record.


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